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                              UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF TEXAS
                                            Fort Worth Division

UNITED STATES OF AMERICA                                    JUDGMENT IN A CRIMINAL CASE

v.                                                          Case Number: 4:16-CR-00123-O(06)
                                                            U.S. Marshal’s No.: 54452-177
GEORGE REAGAN                                               Brian Poe, Assistant U.S. Attorney
                                                            Calvin Johnson, Attorney for the Defendant


       On August 4, 2016 the defendant, GEORGE REAGAN, entered a plea of guilty as to Count One of the
Indictment filed on May 18, 2016. Accordingly, the defendant is adjudged guilty of such Count, which
involves the following offense:

Title & Section                      Nature of Offense                                      Offense Ended       Count
21 U.S.C. § 846                      Conspiracy to Distribute a Controlled Substance        May 9, 2016         One


       The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to Title 18, United States Code § 3553(a), taking the guidelines issued by the United States Sentencing
Commission pursuant to Title 28, United States Code § 994(a)(1), as advisory only.

        The defendant shall pay immediately a special assessment of $100.00 as to Count One of the Indictment
filed on May 18, 2016.

       The defendant shall notify the United States Attorney for this district within thirty days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid.


                                                         Sentence imposed November 28, 2016.




                                                         ____________________________________________
                                                         REED O’CONNOR
                                                         U.S. DISTRICT JUDGE


                                                         Signed November 30, 2016.
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                                              IMPRISONMENT

       The defendant, GEORGE REAGAN, is hereby committed to the custody of the Federal Bureau of
Prisons (BOP) to be imprisoned for a term of Seventy (70) months as to Count One of the Indictment filed on
May 18, 2016. This sentence shall run concurrent to any sentence(s) which may be imposed in the state
criminal charges for Tamper with Government Records, Case Nos. F-155825 and F-155828, pending in Dallas
County Criminal Court 7.

        The Court recommends to the BOP that the defendant be housed at an FCI facility within the Northern
District of Texas area, if possible.

       The defendant is remanded to the custody of the United States Marshal.

                                          SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be placed on supervised release for a term of
Three (3) years as to Count One of the Indictment filed on May 18, 2016.

       While on supervised release, in compliance with the standard conditions of supervision adopted by the
United States Sentencing Commission, the defendant shall:

( 1)   not leave the judicial district without the permission of the Court or probation officer;
( 2)   report to the probation officer as directed by the Court or probation officer and submit a truthful
       and complete written report within the first five (5) days of each month;
( 3)   answer truthfully all inquiries by the probation officer and follow the instructions of the
       probation officer;
( 4)   support the defendant's dependents and meet other family responsibilities;
( 5)   work regularly at a lawful occupation unless excused by the probation officer for schooling,
       training, or other acceptable reasons;
( 6)   notify the probation officer within seventy-two (72) hours of any change in residence or
       employment;
( 7)   refrain from excessive use of alcohol and not purchase, possess, use, distribute, or administer any
       narcotic or other controlled substance, or any paraphernalia related to such substances, except as
       prescribed by a physician;
( 8)   not frequent places where controlled substances are illegally sold, used, distributed, or
       administered;
( 9)   not associate with any persons engaged in criminal activity and not associate with any person
       convicted of a felony unless granted permission to do so by the probation officer;
(10)   permit a probation officer to visit the defendant at any time at home or elsewhere and permit
       confiscation of any contraband observed in plain view by the probation officer;
(11)   notify the probation officer within seventy-two (72) hours of being arrested or questioned by a
       law enforcement officer;
(12)   not enter into any agreement to act as an informer or a special agent of a law enforcement agency
       without the permission of the Court; and,
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(13)   notify third parties of risks that may be occasioned by the defendant's criminal record or personal
       history or characteristics, and permit the probation officer to make such notifications and to
       confirm the defendant's compliance with such notification requirement, as directed by the
       probation officer.

       In addition the defendant shall:

       not commit another federal, state, or local crime;

       not possess illegal controlled substances;

       not possess a firearm, destructive device, or other dangerous weapon;

       cooperate in the collection of DNA as directed by the U.S. probation officer;

       report in person to the U.S. Probation Office in the district to which the defendant is released from the
       custody of the Federal Bureau of Prisons within 72 hours of release;

       refrain from any unlawful use of a controlled substance, submitting to one drug test within 15 days of
       release from imprisonment and at least two periodic drug tests thereafter, as directed by the probation
       officer pursuant to the mandatory drug testing provision of the 1994 crime bill;

       participate in a program (inpatient and/or outpatient) approved by the U.S. Probation Office for
       treatment of narcotic, drug, or alcohol dependency, which will include testing for the detection of
       substance use or abuse. The defendant shall abstain from the use of alcohol and/or all other intoxicants
       during and after completion of treatment. The defendant shall contribute to the costs of services rendered
       (copayment) at a rate of at least $10 per month; and,

       provide to the probation officer any requested financial information.

                                                 FINE/RESTITUTION

       The Court does not order a fine or costs of incarceration because the defendant does not have the
       financial resources or future earning capacity to pay a fine or costs of incarceration.

       Restitution is not ordered because there is no victim other than society at large.
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                                                   RETURN

            I have executed this judgment as follows:




            Defendant delivered on _____________________ to ___________________________________

      at ________________________________________________, with a certified copy of this judgment.


                                                        United States Marshal

                                                        BY
                                                        Deputy Marshal
